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1    DWIGHT M. SAMUEL (CA BAR# 054486)
     A PROFESSIONAL CORPORATION
2    117 J Street, Suite 202
     Sacramento, California 95814
3    916-447-1193
4    Attorney for Defendant
     Zhora Darmoyan
5
6
                              IN THE UNITED STATES DISTRICT COURT
7
                                EASTERN DISTRICT OF CALIFORNIA
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9
     UNITED STATES OF AMERICA,       )
10                                   )              NO. 2:11-cr-467 JAM
                Plaintiff,           )
11                                   )
          v.                         )              STIPULATION AND ORDER
12                                   )
     ZHORA DARMOYAN,                 )
13                                   )
                Defendant.           )
14   ________________________________)
15
           Defendant, through respective counsel, and the United States of America, through
16
     Assistant U.S. Attorney R.Steven Lapham, agree that the time to file property bonds in support
17
     of defendant Darmoyan’s release should be extended from December 2, 2011 end of
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     business to December 9, 2011 at the end of business.
19
           Presently all deeds of trust have been signed and notorized, title searches have been
20
     obtained and appraisals are anticipated to be completed next week due to the in completion of
21
     appraisal documents.
22
           Respectfully submitted,
23
24
25
     DATED: December 2, 2011                 _________/S/_________________
26                                           DWIGHT M. SAMUEL
                                             Attorney for Defendant
27                                           Zhora Darmoyan
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                                                   1
                                                   2
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3
     DATED: December 2, 2011
4                                      __________/S/___________________________
                                       R.Steven Lapham
5                                      Assistant United States Attorney
                                       (Signed per Personal authorization)
6
7
8
          IT IS SO ORDERED.
9
          DATED: 12/5/2011
10
                                           /s/ John A. Mendez
11                                            John A. Mendez
                                           United States District Judge
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